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UNITED STATES DISTRICT COURT FILED
WESTERN DISTRICT OF TEXAS | 9 8 2007
SAN ANTONIO DIVISION SEP

§
UNITED STATES OF AMERICA, = §
ex rel. JANAKI RAMADOSS, et §
al., , §

Plaintiff, § No. SA-99-CA-00914-WRF
§
v. §
§
CAREMARK INC, et al., §
Defendant. §

ORDER ADOPTING SPECIAL MASTER’S RECOMMENDATIONS WITH
RESPECT TO PENDING DISCOVERY MOTIONS

BEFORE THE COURT is the Recommendations of Special Master, Karl Bayer,
(Docket No. 512) and (Docket No. 513) With Respect to Caremark’s Motion to Compel
Further Responses to Interrogatories and Requests for Documents, and Supporting
Memorandum (Docket No. 163); Caremark’s Motion to Strike Arkansas’ Objections to
Caremark’s 30(b)(6) Notice to Arkansas, and Supporting Memorandum (Docket No. 207);
Relator and Plaintiffs’ Sealed Motion to Compel and Memorandum of Reasons (Docket No.
211); Plaintiffs’ Motion to Compel Production of Archived E-mail (Docket No. 212);
Caremark’s Motion for an Order Requiring the United States to Show Cause and for
Contempt of the Court’s Protective Order, and Supporting Memorandum (Docket No. 215);

Joint Plaintiffs’ Motion to Compel Caremark to Produce a Proper Privilege Log and to

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Produce Specific Documents Over Which it has Waived Privilege (Docket No. 216); and
Relator’s Motion to Compel Defendants to Designate an Additional 30(b)(6) Witness due to
Diane Nobles’ Lack of Knowledge on Designated Issues (Docket No. 217).

According to the Special Master’s Supplemental Recommendation (Docket No. 513),
Caremark’s above referenced Motion for an Order Requiring the United States to Show Cause
and for Contempt of the Court’s Protective Order, and Supporting Memorandum (Docket No.
215) was already withdrawn.

The Special Master’s Recommendations were filed with the Court on September 25
and September 27, 2007. Under Federal Rule of Civil Procedure 53(g)(2), the parties have
twenty days to file objections to, or a motion to adopt or modify the Recommendations. The
Special Master has informed the Court that the parties agreed not to file any objections. The
Court finds the Recommendations to be well taken and hereby ADOPTS, IN ITS ENTIRETY,
the Special Master’s Recommendations With Respect to Pending Discovery Motions (Docket
Numbers 163, 207,211, 212,216, and217). Furthermore, the Court hereby ADOPTS, INITS
ENTIRETY the Special Master’s Supplemental Request to Certain Pending Discovery

~ Motions (Docket No. 513),

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It is so ORDERED.
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Signed this 2 * day of September, 2007.
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ROYAL FURGRSON
UNITED STATES DISTRICT JUDGE

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